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              UNITED STATES DISTRICT COURT FOR THE
                      DISTRICT OF COLUMBIA

                                             )
  ROCHELLE GARZA, as guardian ad             )
  litem to unaccompanied minor JANE          )
  DOE, on behalf of herself and others       )
  similarly situated; JANE ROE and           )
  JANE MOE on behalf of themselves           )   Civil Action No. 17-cv-02122
  and others similarly situated; and         )   (TSC)
  JANE POE,                                  )
                                             )   Honorable Tanya S. Chutkan
              Plaintiffs,                    )   United States District Judge
                                             )
        v.                                   )
                                             )
ERIC D. HARGAN, et al.,                      )
                                             )
              Defendants.                    )

                    DEFENDANTS’ NOTICE OF APPEAL

      Notice is hereby given that Defendants/Appellants Eric D. Hargan, et al.,

hereby appeal to the United States Court of Appeals for the District of Columbia

Circuit from the order entered in this action on March 30, 2018, ECF No. 127.




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DATED: April 9, 2018                     Respectfully Submitted,

CHAD A. READLER                             /s/ Michael C. Heyse
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Deputy Director
Office of Immigration Litigation
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                         CERTIFICATE OF SERVICE

      I hereby certify that on April 9, 2018, I caused a copy of the foregoing
Notice of Appeal to be filed with the Clerk of the Court using the Court’s CM/ECF
system. Counsel for Plaintiffs/Appellees are registered CM/ECF users, and will be
served exclusively through that system.


                                             /s/ Michael C. Heyse
                                            MICHAEL C. HEYSE
                                            Trial Attorney
